  8:13-cr-00042-JFB-FG3             Doc # 48     Filed: 09/18/13   Page 1 of 2 - Page ID # 76




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                      8:13CR42

       vs.
                                                                        ORDER
VIRGILIO ROMAN-CHAIDEZ,

                      Defendant.


This matter is before the court on defendant's MOTION FOR ENLARGEMENT OF TIME TO
FILE PRETRIAL MOTIONS [47]. For good cause shown, I find that the motion should be
granted. The defendant will be given an approximate 63-day extension. Pretrial Motions shall
be filed by November 18, 2013.


       IT IS ORDERED:


       1.      Defendant's MOTION FOR ENLARGEMENT OF TIME TO FILE PRETRIAL
MOTIONS [47] is granted. Pretrial motions shall be filed on or before November 18, 2013.


       2.      The defendant is ordered to file the affidavit required by NECrimR 12.1(a)
regarding speedy trial as soon as practicable.


       3.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result
of the granting of the motion, i.e., the time between September 17, 2013 and November 18,
2013, shall be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act for the reason defendant's counsel required additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and
complexity of this case. The failure to grant additional time might result in a miscarriage of
justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
8:13-cr-00042-JFB-FG3       Doc # 48     Filed: 09/18/13      Page 2 of 2 - Page ID # 77




    4.     No further continuances will be granted.




    Dated this 18th day of September, 2013.

                                                  BY THE COURT:
                                                  s/ F.A. Gossett, III
                                                  United States Magistrate Judge




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